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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

HISPANIC FEDERATION, et al.,
             Plaintiﬀs,
v.                                           Case No. 4:23-cv-218-AW-MAF
CORD BYRD, etc., et al.,
             Defendants.


                PLAINTIFFS’ NOTICE OF SIMILAR CASES

      Pursuant to Local Rule 5.6, Plaintiﬀs give notice that the following cases

pending in the District involve issues of fact or law in common with the issues in

this case: Florida State Conference of Branches and Youth Units of the NAACP v.

Byrd, No. 4:23-cv-215-MW-MAF; and League of Women Voters of Florida, Inc. v.

Moody, No. 4:23-cv-216-RH-MAF.


Respectfully submitted this 25th day of May, 2023,

                                         /s/ Nicholas L.V. Warren

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